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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA    :
                            :
          v.                :
                            :                        Criminal No. 21-CR- 552 DLF
KENNETH JOSEPH OWEN THOMAS, :
                            :
    Defendant.              :

                    UNITED STATES’ MOTION IN LIMINE TO
              PRECLUDE THE USE OF CERTAIN IMPROPER DEFENSES

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, now moves this court to preclude the defendant, Kenneth Joseph Owen

Thomas (hereinafter, “the Defendant”) from eliciting evidence or arguing to the jury that (1) his

statements and actions were protected by the First Amendment, (2) other individuals who are not

a party to this case are culpable for the conduct with which the defendant is now charged, or (3)

that it was factually impossible for him to have committed the charged crimes.

                                       INTRODUCTION

       The Court is well familiar with the background of this case and the broader background of

the January 6, 2021, riot at the United States Capitol. The government has set forth the detailed

facts of this case numerous times. See ECF 1; see also ECF 57 - ECF 59. But as is relevant to this

motion, the brief facts are that in the days and weeks leading up to January 6, 2021, the Defendant

made numerous statements indicating that he believed the results of the 2020 Presidential Election

to be fraudulent and that the transition of power between presidential administrations needed to be

stopped. The Defendant led a “MAGA Caravan” from Alabama to Washington, D.C., for the

purpose of attending the “Stop the Steal” rally at the Ellipse. After the rally, the Defendant then

walked to the Capitol and, during the course of a riot, assaulted five law enforcement officers who

were attempting to clear rioters from the West Front of the Capitol. The Defendant is now charged
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via Second Superseding Indictment with eleven counts relating to his specific conduct that day,

including disorderly conduct during a civil disturbance in violation of 18 U.S.C. § 231(a)(3),

obstruction of an official proceedings in violation of 18 U.S.C. § 1512(c)(2), and five counts of

assaulting or impeding certain law enforcement officers in violation of 18 U.S.C. § 111(a). He is

neither charged with conspiracy nor charged together with any co-defendants.

       Certain pre-trial disclosures and motions suggest that the defendant intends to raise two

improper defenses as to his conduct on January 6, 2021. In these filings and disclosures, the

Defendant has signaled that he intends to argue that his conduct was protected by the First

Amendment. See Defendant’s Proposed Amendments to Jury Instructions, 3/20/3023 (hereinafter,

“Defendant’s Proposed Jury Instructions”). The Defendant has further indicated that he intends to

argue that other persons who are not a party to this case were responsible for the delay of the

certification of the Electoral College. See ECF 64 at 6-9; see also Defendant’s Proposed Jury

Instructions. Contradicting his defense of alternative perpetrators, the Defendant has also signaled

that he intends to claim a defense of factual impossibility. Id. All these defenses are improper and

should be precluded.

                                          ARGUMENT

I. The Defendant’s conduct is not protected by the First Amendment.

       In pre-trial filings and disclosures, the Defendant, through his attorneys, has repeatedly

indicated that he intends to argue that his conduct at the Capitol was protected by the First

Amendment to the United States Constitution. Since the inception of this case, the Defendant

himself has also repeatedly stated on social media, including his weekly podcast, that he was only

“protesting” and “exercising his First Amendment right to free speech.” The crucial distinction

between the Defendant’s statements and protected First Amendment speech is that the Defendant

is being prosecuted for the violent and obstructive conduct that he took in furtherance of that


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speech, not for the speech itself. United States v. Chansley, 525 F. Supp 3d 151, 164 (D.D.C. 2021)

(Lamberth, J.) (“[E]ven if [defendant’s statements were themselves protected, the First

Amendment does not prohibit their consideration as evidence of motive or intent.”)

       Moreover, the Defendant’s assertions about any First Amendment protection for his

conduct at the Capitol on January 6 run directly contrary to the evidence that the government has

provided to the Defendant in discovery. This includes body worn camera footage and videos

personally recorded by the Defendant which show him entering a restricted area, repeatedly

striking officers, charging up a flight of stairs and throwing the weight of his body against police

officers, and physically resisting efforts by law enforcement officers to clear the West Front of the

Capitol. None of this conduct is sanctioned by the First Amendment. Therefore, to avoid confusing

the issues or misleading the jury, the Court should (A) permit the government to use otherwise-

protected speech (such as political speech) as evidence in this trial, and (B) preclude the Defendant

from arguing that his conduct on January 6 was protected by the First Amendment.

  A. The government should be permitted to introduce the Defendant’s statements as evidence of
     his corrupt intent.

       The statements that the Defendant made about his beliefs surrounding the 2020 Presidential

Election and the certification thereof are admissible intent evidence. It is uncontroversial that a

defendant’s statements, which would otherwise be protected under the First Amendment, may be

introduce in a criminal case when those statements are evidence of the intent behind a defendant’s

acts. See Wisconsin v. Mitchell, 508 U.S. 476 (1993). “Evidence of a defendant’s previous

declarations or statements is commonly admitted in criminal trial subject to evidentiary rules

dealing with relevancy, reliability, and the like.” Id. at 489. Courts across the country have

followed the mandate in Mitchell and admitted evidence for this purpose. United States v. Smith,

967 F.3d 1196, 1205 (11th Cir. 2020) (admitting musical lyrics composed by a defendant in a



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Hobbs Act prosecution); United States v. Pierce, 785 F.3d 832 (2d Cir. 2015) (“The speech was

not the basis for the prosecution, but instead it was used to establish the existence of, and

[defendant’s] participation in, the alleged RICO enterprise[.]” (internal citations omitted); United

States v. Salameh, 152 F.3d 188, 111-112 (2d Cir. 1998) (the defendants were not “prosecuted for

possessing or reading terrorist materials. The materials seized […] were used appropriately to

prove the existence of the bombing conspiracy and its motive.”). This same principle has been

upheld and applied in the context of cases arising from the Capitol Riot. Chansley, 525 F. Supp

3d at 164; United States v. Robertson, 2022 WL 969546 at *6 (D.D.C. 2022) (Cooper, J.) (“If

Robertson had expressed his views only through social media, he almost certainly would not be

here. But he also allegedly took action—entering the Capitol without lawful authority in an alleged

attempt to impede the Electoral College vote certification. His words remain relevant to his intent

and motive for taking those alleged actions.”).

       The Defendant is not being prosecuted for his speech. Instead, his speech is relevant and

highly probative evidence of the corrupt intent behind his actions. Id. Among the Defendant’s

charges are multiple counts which require the government to prove his intent beyond a reasonable

doubt. The First Amendment thus does not bar the admission of any evidence which the

government offers to establish the Defendant’s motive, intent, or an element of the crime, including

that his actions that day were intended to stop the certification of the Electoral College vote.

Mitchell, 508 U.S. at 489. The Court should therefore find that the government may introduce

these statements as probative of the Defendant’s intent. Id.




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  B. The Defendant should be precluded from arguing that his conduct was protected by the First
     Amendment.

     1. The area around the Capitol had been lawfully closed and the Defendant had no First
        Amendment right to breach that restricted perimeter.

       The Court should preclude the Defendant from eliciting evidence, arguing, or asking

questions that suggest that there was a First Amendment right to protest inside the restricted area

around the Capitol on January 6. At trial, the government will show that the Capitol Grounds were

restricted that day. There is no First Amendment right to protest in a restricted area. The

government can—and on January 6, 2021—did restrict an area that is a traditional public forum

for legitimate government ends. This Court has affirmed that the government may close a public

forum in similar circumstances. See Mahoney v. U.S. Marshals Service, 454 F. Supp 2d 21, 32-33

(D.D.C 2006) (U.S. Marshals Service did not violate First Amendment by restricting access to

sidewalk in front of St. Matthew’s Cathedral for Red Mass, even though sidewalk was a traditional

public forum).

       Other courts have similarly upheld temporary closures of traditional public fora for safety

reasons. See Mahoney, 454 F. Supp. 2d at 21; Menotti v. City of Seattle, 409 F.2d 1113, 1129-1130

(9th Cir. 2005) (finding that an emergency order to close a core area of downtown Seattle to

protests during World Trade Organization conference was constitutional in part because its

purpose was to maintain and restore civic order); Marcavage v. City of New York, 489 F.3d 98,

105 (2d Cir. 2012) (“[T]here can be no doubting the substantial government interest in the

maintenance of security at political conventions.”); Citizens for Peace in Space v. City of Colorado

Springs, 477 F.2d 1212, 1222 (10th Cir. 2007) (“In this case, there can be no doubt that the City’s

interest in providing security to a gathering of defense officials is of the highest order’); Bl(a)ck

Tea Soc’y v. City of Boston, 378 F.3d 8, 11 (1st Cir. 2004) (upholding a street closure plan around




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the Democratic National Convention that made it nearly impossible for groups wishing to

demonstrate to do so within sight and sound of delegates).

       On January 6, 2021, the United States Capitol Police and the United States Secret Service

coordinated to establish a restricted perimeter around the Capitol building that encompassed a

portion of the Capitol grounds. That restricted perimeter was for a legitimate government purpose.

No member of the public, including the Defendant, had a First Amendment right to engage in

protest or speech within that restricted area. The Court should therefore enter an order precluding

the Defendant from arguing to the contrary or stating during voir dire, questioning, or opening or

closing statements that Defendants were engaged in protected speech or pursuing their “right” to

protest at any point when they were on U.S. Capitol grounds.

     2. The Defendant’s conduct within the breached restricted perimeter was not protected by
        the First Amendment.

       The First Amendment to the United States Constitution protects many sacred rights, but

the right to engage in violence is not among them. Grayned v. City of Rockford, 408 U.S. 104, 116

(“Of course, where demonstrations turn violent, they lose their protected quality as expression

under the First Amendment.”). “Activities that injure, threaten, or obstruct are not protected by the

First Amendment, whether or not such conduct communicates a message.” United States v. Gregg,

226 F.3d 253, 267-268 (3d Cir. 2000). Even conduct which is not outright violent but which

physically “obstructs or unreasonably interferes” with official functions of government business

loses its First Amendment protection. Cameron v. Johnson, 390 U.S. 611, 617 (1968) (finding that

a picket demonstration which physically blocked ingress or egress from a courthouse was not

protected by the First Amendment); see also Cox v. Louisiana, 379 U.S. 536, 555 (1965) (physical

“cordon” of a street or a public or private building by demonstrators who refused to let anyone

pass if they “did not agree to listen to their exhortations.”). Importantly, that some aspect of a



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Defendant’s conduct was protected by the First Amendment does not negate criminal action for

his unprotected conduct because “when speech and nonspeech elements are combined in the same

course of conduct, a sufficiently important governmental interest in regulating the nonspeech

element can justify incidental limitations on First Amendment freedoms.” United States v.

O’Brien, 391 U.S. 367, 376 (1968). That is to say that even if a defendant is engaged in speech

that is protected, when his actions turn physically obstructive or outright violent, the First

Amendment ceases to protect the speech itself because the government has a legitimate interest in

preventing or stopping violent conduct. Id.; see also Grayned, 408 U.S. at 116. These First

Amendment principles have been applied and upheld with respect to the January 6 Capitol Riot.

See, e.g., United States v. Nordean et al., 579 F.Supp.3d 28, 53-55 (D.D.C. 2021) (Kelly, J.)

(finding that charges for violations of 18 U.S.C. § 231(a)(3) and 18 U.S.C. § 1512(c)(2) withstood

constitutional scrutiny).

       The Defendant’s conduct on January 6 was plainly not protected by the First Amendment.

Id. On January 6, 2021, the Defendant joined a riotous mob that had descended upon the Capitol,

completely obstructing the flow of people, including the Vice President of the United States and

other lawmakers inside, from ingress or egress from the building without the consent of the mob.

Cox, 379 U.S. at 555; Johnson, 390 U.S. at 617. His actions, as one among many in the mob, had

the effect of impeding and obstructing official government business, that being the certification of

the Electoral College vote, for hours. Id. When law enforcement officers attempted to clear the

Defendant and the mob from the West Front, he assaulted five separate officers over the course of

a little more than one hour. Grayned, 408 U.S. at 116; Gregg, 226 F.3d at 267-268. That the

Defendant’s conduct early in the day on January 6 was protected by the First Amendment is of no

moment in light of his breach of a restricted perimeter, assaults on law enforcement, and

obstructive conduct against law enforcement when they attempted to clear the area around the


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Capitol: the moment he engaged in such conduct he crossed beyond the boundary of conduct

protected by the First Amendment. Id; see also Grayned, 408 U.S. at 116. Permitting the defendant

to raise this defense, in addition to running contrary to well-established law, risks confusing the

issues and the jury. Fed. R. Evid. 401. Therefore, the court should preclude the Defendant from

raising this defense.

II. The Defendant should be precluded from arguing that the jury must find that he was the
direct cause of the delay in the certification of the Electoral College vote.

       In the Defendant’s Proposed Jury Instructions, he repeatedly inserts elements into the

charges against him that alter the elements of the various statutes that he has been indicted for

violating. One of those inserted elements was that the jurors must find that the Defendant was the

direct or but-for cause of the delay in the certification of the Electoral College. Defendant’s Jury

Proposed Instructions at 5-6. By inserting this element, in addition to fundamentally changing the

nature of the statute at issue, the Defendant is in effect raising two new defenses: (1) that other

individuals are culpable for the crimes with which he is now charged, and (2) a defense of factual

impossibility.

       In a prior motion, the Defendant argued for disclosure of certain materials based on

conjecture about what led to the recess of the Joint Session on January 6, 2021. ECF 64 at 18-21.

In light of the Defendant’s Proposed Jury Instructions, the government now revisits that motion.

In that motion, the Defendant insinuated based on pure conjecture that his presence and assaults

on law enforcement at the Capitol was not the reason for the recess of the Joint Session. ECF 64

at 20-21. The Defendant further erroneously argued that the cause of the recess was the pipe bombs

that were found at the Republican National Committee and Democratic National Committee




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buildings. 1 Id. at 6-7. Despite the fact that many of these assertions could easily have been refuted

by a cursory review of the evidence that has been made available to the Defendant, all of these

arguments and factual assertions are purely speculative, factually mistaken, and utterly without

merit. 2.



1
  Building upon conjecture regarding the source of the pipe bombs, which is not relevant to his
case, the defense then erroneously conflates separate Capitol Hill evacuations on January 6, 2021.
Certain buildings in the U.S. Capitol complex were evacuated starting at 1:11 p.m. on January 6,
2021, due to the discovery of an explosive device at the RNC headquarters. However, that did not
include the U.S. Capitol Building and the joint session remained ongoing for well over an hour
after these devices were discovered. Similarly, then-Senator Kamala Harris’s evacuation from the
DNC, where an explosive device was discovered at 1:07 p.m., did not cause the recess of the joint
session that was occurring at the Capitol Building. What caused the recess of the Senate at 2:13
p.m. is what the staffer told Senator Lankford at the time; rioters were, at that very moment,
climbing through broken windows on a floor below them. This is further reinforced by the fact
that the alert from USCP at 2:10 p.m. cited danger on the West Front and that the alert at 2:17 p.m.
cited a security threat within the building and urged occupants to hide and keep quiet. Neither
these geographic descriptions or the precautions cited have anything to do with explosives that had
been located more than an hour prior and were already contained. A cursory review of the
voluminous audio, video, and documentary evidence already available to the defense in discovery
would confirm this.
2
  The Defendant’s motion does not rely on any of the evidence it has received in discovery that
would be relevant to an inquiry into the reasons the presiding officers of the two chambers—
Senator Grassley at 2:13 p.m. in the Senate chamber and Representative McGovern at 2:29 p.m.
in the House chamber, see 167 Cong. Rec. S18, H85 (daily ed. Jan. 6, 2021)—declared the
respective Houses in recess subject to the call of the chair. This includes records for the MPD and
USCP that are contemporaneous to the discovery of the explosive devices, the breach of the Capitol
Building, and the recess of each chamber, such as radio communications, recorded phone calls,
text messages, and emails, as well as body-worn camera and surveillance footage. Additionally,
the defense possesses subsequently created records in discovery, such as after-action reports and
investigative reports detailing the work of each police department’s internal affairs bureaus.
Moreover, there are records in discovery created by the FBI that may reflect the communications
or actions that led to the decision to recess each chamber. These records include memoranda of
interviews of relevant personnel, including select USCP employees such as plain-clothes officers
who were in the House and Senate chambers; the U.S. Secret Service; the House of
Representatives, including individuals who work for the Parliamentarian, Sergeant at Arms, and
Clerk; and the Senate, including individuals who work for the Secretary. Finally, publicly
available records, including the Congressional Record and the C-SPAN feeds of each chamber,
also show the official actions in each chamber leading up to and including the recesses. The
defense also has in its possession, as part of global discovery, each chamber’s official time-
stamped video feed while that chamber was in session.


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  A. The Defendant should not be permitted to raise an alternative perpetrators defense.

       Only evidence that is relevant may be admitted at trial. Fed. R. Evid. 402. To be relevant,

the evidence must have a “tendency to make the existence of [a] fact that is of consequence to the

determination of the action more probable or less probable than it would be without the evidence.”

Fed. R. Evid. 401; see also United States v. Sesay, 313 F.3d 591, 599-600 (D.C. Cir. 2002). Even

if the defendant can articulate some basis for believing that certain information is relevant to his

defense, the Court “may exclude marginally relevant evidence and evidence posing an undue risk

of confusion of the issues without offending a defendant’s constitutional rights.” United States v.

Alayeto, 628 F.3d 917, 922 (7th Cir. 2010) (citing Holmes v. South Carolina, 547 U.S. 319, 326–

27 (2006)). Thus, relevant evidence may be excluded if its probative value is substantially

outweighed by the danger of unfair prejudice. Fed. R. Evid. 403. Finally, the introducing party

carries the burden to establish both relevancy and admissibility under the evidentiary rules. United

States v. Oseguera Gonzalez, 507 F. Supp. 3d 137, 147 (D.D.C. 2020).

       As it relates to a potential “alternative perpetrator” defense, “[e]vidence tending to show

the commission by another person of the crime charged may be introduced by [the] accused when

it is inconsistent with, and raises a reasonable doubt of, his own guilt; but frequently matters

offered in evidence for this purpose are so remote and lack such connection with the crime that

they are excluded.” Holmes, 547 U.S. at 327 (internal citations omitted). Evidence may be

excluded “where it does not sufficiently connect the other person to the crime, as, for example,

where the evidence is speculative or remote, or does not tend to prove or disprove a material fact

in issue at the defendant’s trial.” Id.; see, e.g., United States v. McVeigh, 153 F.3d 1166, 1191

(10th Cir. 1998) (affirming district court’s exclusion of proffered evidence of two alternative

perpetrators, specifically, two members of Elohim City, a white supremacist, anti-government

organization, where such evidence would have created a “great threat of ‘confusion of the issues’”


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and a “side trial” that might “invite the jury to blame absent, unrepresented individuals and groups

for whom there often may be strong underlying emotional responses”); United States v. Moore,

2022 WL 715238 (D.D.C Mar. 10, 2022) (excluding evidence of two alleged alternative

perpetrators, where defendant failed to establish nexus between alternative perpetrators and the

offense for which the defendant was charged). For the reasons below, the Court should exclude

evidence and argument as to the culpability of other participants in the riot at the Capitol.

       Furthermore, it is well-established that the possible guilt of others is no defense to a

criminal charge, and a jury may not consider whether anyone else should be prosecuted during its

deliberations. The Sixth Circuit’s Pattern Jury Instruction sets forth this principle, warning jurors

that the possible guilt of others may not influence their decision:

       Also keep in mind that whether anyone else should be prosecuted and convicted for
       this crime is not a proper matter for you to consider. The possible guilt of others is
       no defense to a criminal charge. Your job is to decide if the government has proved
       this defendant guilty. Do not let the possible guilt of others influence your decision
       in any way.

Sixth Circuit Pattern Jury Instructions, Defining the Crime and Related Matters No. 2.01(3) (2021)

(emphasis added). Likewise, the Tenth Circuit’s pattern instruction states that the possible guilt of

others should not even enter the jurors’ thinking:

       You are here to decide whether the government has proved beyond a reasonable
       doubt that the defendant is guilty of the crime charged. The defendant is not on trial
       for any act, conduct, or crime not charged in the indictment.

       It is not up to you to decide whether anyone who is not on trial in this case should
       be prosecuted for the crime charged. The fact that another person also may be guilty
       is no defense to a criminal charge.

       The question of the possible guilt of others should not enter your thinking as you
       decide whether this defendant has been proved guilty of the crime charged.

Tenth Circuit Criminal Pattern Jury Instructions No. 1.19 (2021) (Caution – Consider Only Crime

Charged) (emphasis added); see also United States v. Arras, 373 F.3d 1071, 1076 (10th Cir. 2004)



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(affirming use of the jury instruction, “You are here to decide whether the government has proven

beyond a reasonable doubt that each defendant is guilty of the crimes charged. And you must not

be concerned with the guilt or innocence of other persons not on trial as a defendant in this case”);

United States v. Dennis, 645 F.2d 517, 520, n.3 (5th Cir. May 22, 1981), overruled on other

grounds, United States v. Lane, 474 U.S. 438 (1986)) (affirming jury instruction stating in relevant

part, “You are not called upon to return a verdict as to the guilt or innocence of any other person

or persons who you think might also be guilty but are not charged in the Indictment.”). In the

Superior Court for the District of Columbia, the pattern jury instructions also recognize a similar

principle in multi-defendant cases. See Criminal Jury Instructions for the District of Columbia No.

2.403 (Fifth Edition, 2021) (“The fact that you may find one defendant guilty or not guilty should

not influence your verdict as to any other defendant.”).

       The government acknowledges that the charges of civil disorder, 18 U.S.C. § 231(a)(3),

and obstruction of an official proceeding, 18 U.S.C. §§ 1512(c)(2) & 2, implicate events and

aspects of the January 6, 2021 Capitol riot where the defendant was not personally present, and

therefore, evidence that does not involve the defendant will be relevant to establish that law

enforcement officers were engaged in responding to a civil disorder when the defendant interfered

with them, and that Congress was actually obstructed by the defendant and/or others he aided and

abetted. Nonetheless, evidence intended to highlight the specific culpability or actions of

handpicked individuals with no relation to the defendant or the charges he faces invites the jury to

do precisely what the law prohibits: “let[ting] the possible guilt of others influence [their] decision

in any way.” Sixth Circuit Pattern Jury Instructions, No. 2.01(3). Any remote probative value such

evidence might carry is far outweighed by the likelihood of confusion and the distraction brought

on by the need for a “mini-trial” on the conduct of other parties. Efforts to introduce such evidence

can only be designed to either unfairly prejudice the jury by creating confusion, garner sympathy


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for a “lesser” participant in the riot like the defendant or support a bid for jury nullification. All

such evidence should therefore be excluded. 3

    B. The Defendant should not be permitted to raise a defense of factual impossibility.

        The Defendant’s argument about direct causation and alternative perpetrators is really a

claim of factual impossibility – that he cannot be guilty of disrupting Congress because Congress

already had been disrupted by reports of pipe bombs and the presence of other rioters and gone

into recess well before he arrived on Capitol Grounds at the West Front. Analyzed as a claim of

factual impossibility, the Defendant’s claim fails.

         “‘Factual impossibility is said to occur when extraneous circumstances unknown to the

actor or beyond his control prevent consummation of the intended crime.’” United States v. Duran,

884 F. Supp. 577, 580 n. 5 (D.D.C. 1995), aff’d, 96 F.3d 1495 (D.C. Cir. 1996) (“Implicit in the

Court’s Order … was an understanding that the impossibility issue raised by the defense … was

one of factual impossibility. Framed this way, the fact that the person whom the Defendant shot

at was not, in fact, President Clinton was an extraneous circumstance, unknown to him, which

prevented consummation of the intended crime.”) (internal citation omitted). Factual impossibility

is not a defense to inchoate crimes. United States v. Williams, 553 U.S. 285, 300 (2008) (“The

impossibility of completing the crime because the facts were not as the defendant believed is not

a defense”); United States v. Washington, 106 F.3d 983, 1006 (D.C. Cir. 1997) (“factual

impossibility is no defense to an attempt crime”).

        “In order to determine whether factual impossibility is a defense to the substantive crimes

with which [the defendant] has been charged, one must look to the elements of the crimes



3
  To the extent that any such evidence or argument is admitted over the government’s objection,
the government will seek a jury instruction akin to the Sixth Circuit or Tenth Circuit pattern
instructions cited herei

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themselves.” United States v. Colburn, 475 F. Supp. 3d 18, 26 (D. Mass. 2020) (citation omitted).

The Defendant is contending that he cannot be guilty of obstructing or disrupting Congress by

anything that he did at the Capitol, because Congress already had gone into recess (i.e., it already

had been obstructed and disrupted) because of reports of pipe bombs and the crowd that had

already amassed and surrounded the Capitol. Essentially, his claim is that the government cannot

prove the element of obstruction. But the Defendant’s claim misapprehends the government’s

allegations and evidence. In light of the dangerous circumstances caused by the unlawful entry to

the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. 4 The proceedings did not resume until approximately 8:00 p.m. after the

building had been secured.

       Thus, the inapplicability of any factual impossibility claim for the Defendant undermines

any reliance on alternative perpetrator defense.      The Defendant’s conduct in entering and

remaining at the Capitol obstructed and impeded law enforcement and Congress, in violation of

18 U.S.C. §§ 231, 1512, 1752, and 5104, because Congress could not reconvene to carry out its

constitutional and statutory obligations to certify the results of the Electoral College vote on

January 6 until after the Defendant and every other unauthorized person had been removed from

the Capitol building and grounds, and the building and grounds had been secured. The Defendant




4
 To this point, Judge Kollar-Kotelly has reasoned, “Just as heavy rains cause a flood in a field,
each individual raindrop contributes to that flood. Only when all of the floodwaters subside is
order restored to the field. The same idea applies in these circumstances. Many rioters
collectively disrupted Congressional proceedings, and each individual rioter contributed to that
disruption.” United States v. Rivera, 2022 WL 2187851 (D.D.C. June 17, 2022)

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should thus be precluded from arguing or soliciting any evidence to support a defense of factual

impossibility.

                                         CONCLUSION

       For the foregoing reasons, any First Amendment defense or any defense that raises

alternative perpetrators or factual impossibility should be precluded.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     /s/ Samantha R. Miller
                                              SAMANTHA R. MILLER
                                              Assistant United States Attorney
                                              New York Bar No. 5342175
                                              United States Attorney’s Office
                                              For the District of Columbia
                                              601 D Street, NW 20530
                                              Samantha.Miller@usdoj.gov

                                              /s/ Sean P. McCauley
                                              SEAN P. McCAULEY
                                              Assistant United States Attorney
                                              NY Bar No. 5600523
                                              United States Attorney’s Office
                                              601 D Street NW
                                              Washington, DC 20530
                                              Sean.McCauley@usdoj.gov




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